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Pr;)b 35 Report and Order Terminating Probation/ '
{3 98) Supcrvised Release 05 `_-F .` "

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United States District Court
FOR THE
WESTERN DlSTRICT OF TENNESSEE

UNITED STATES OF AMERICA Crim. No. 01-20054-01 and 01-20317-01

V.

Bobby Ailen, Sr.

()n August 22, 2002, the above named was placed on Supervised Release for a period of three (3) years.
He has complied with the rules and regulations of supervision and is no longer in need of supervision ft is
accordingly recommended that he be discharged &'om Supervised Release.

Respectfiilly submitted,

'MQF&M“

Nicole D. Peterson
United States Probation Officer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and
that the proceedings in the case be terminated

cared this §§ h day on¢H/_.L, 2005.

 

   

`.F‘nis document entered on the dockets net in compliance \
with mile 55 and/or aa(b) rach on 05 -'CF

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 124 in
case 2:0]-CR-203]7 Was distributed by faX, mail, or direct printing on
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Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

